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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:13-CR-3130

vs.
                                                           ORDER
RAMON GARCIA,

                  Defendant.

       The defendant has filed a motion to reduce sentence (filing 446) seeking
relief under U.S.S.G. Amend. 782. The defendant's motion will be held in
abeyance pursuant to General Order No. 2014-09, awaiting the completion of
a retroactive sentencing worksheet by the United States Probation Office.
The Court understands that the defendant is, no doubt, anxious to learn
whether his sentence will be reduced, and by how many months. But General
Order No. 2014-09 was entered in no less than 605 different cases in
Nebraska, so some patience may be required.

      IT IS ORDERED:

      1.    The defendant's motion to reduce sentence (filing 446) will
            be held in abeyance.

      2.    The Clerk of the Court shall give notice of the entry of this
            order to the defendant, the United States Attorney, the
            Federal Public Defender, and to the Supervisory United
            States Probation Officer who handles presentence reports.

      Dated this 26th day of August, 2015.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
